Case 2:05-cV-02138-.]DB-tmp Document 10 Filed 08/31/05 Page 1 of 2 Page|D 20

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VALENTINE, and MARCUS BROWN, ) t 'L:,‘."¢' W COUHT
) i’t'f£i:} '\.'i“ _, iiipr
Plaintiffs, )
)
v. ) Ci\/IL ACTION No. 05-2133_BP
)
RITE AID CoRPoRATloN, DoRls )
JORDAN, oNE uNKNoWN RITE, AID )
MANAGER (WAYNE), and JOSEPH )
STEIN, )
)
Defendants. )

ORDER ADMITTING COUNSEL PRO HAC VICE
On adequate motion pursuant to this Court’s Local Rule 83.l(b), it is ORDERED that
Saudra Kim ot`the law firm Ashe, Rat`use & Hill LLP is admitted to the Bar ot`this Court

el for Defendants in this case.

  
 
   

specially for the purpose of acting as Cw

 

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Honorable J. Breen
US DISTRICT COURT

